36 F.3d 1094
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Roland Able GOMES, Defendant Appellant.
    No. 93-6079.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Sept. 13, 1993.Decided:  Oct. 5, 1994.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.  Robert D. Potter, Senior District Judge.  (CR-88-38-1-ST, CA-91-104-5-P)
      Roland Able Gomes, appellant pro se.  Harry Thomas Church, Asst. U.S. Atty., Charlotte, NC, for appellee.
      W.D.N.C.
      AFFIRMED.
      Before WIDENER and LUTTIG, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Roland Able Gomes appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court and deny Gomes's motion to remand.  United States v. Gomes, Nos.  CR-88-38-1-ST, CA-91-104-5-P (W.D.N.C. Jan. 7, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    